                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

IN RE:                                             §
                                                   §            Case No. 18-10511-TMD
RONCO HOLDINGS, INC.                               §
                                                   §                   Chapter 11
                   Debtor.                         §

                               DEBTOR’S WITNESS AND EXHIBIT LIST
                             FOR JULY 30, 2018 HEARING AT 10:00 A.M. ON
                                      MOTION TO CONVERT

I.       WITNESSES

             1.     William Moore

             Ronco Holdings, Inc. (“Ronco”) reserves the right to cross-examine any witness called by
             any other party and to call rebuttal witnesses, if necessary.

 II.     EXHIBITS – Ronco intends to use electronic exhibits

                                                                      O
                                                                M     F   O
                                                                A     F   B    A
                                                                R     E   J    D    D
     Exhibit                                                    K     R   E    M    A
      No.                          Description                  E     E   C    I    T    Disposition
                                                                D     D   T    T    E    After Trial
        1.        Inventel Products, LLC Letter
        2.        Letter to Jeffrey T. Testa
        3.        Unopposed Motion To (I) Allow And
                  Compel      Payment   Of    Post-Petition
                  Administrative Rent And (II) Compel
                  Assumption Or Rejection Of Lease [Docket
                  No. 35]
        4.        Bankruptcy Schedules & Statements [Docket
                  No. 11]
         Ronco reserves the right to amend or supplement this Witness and Exhibit List at any

time prior to the hearing.



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                                                     Respectfully submitted,

                                                      KELL C. MERCER, P.C.
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                                                      By: /s/ Kell C. Mercer
                                                          Kell C. Mercer
                                                          State Bar No. 24007668

                                                      ATTORNEY FOR RONCO HOLDINGS,
                                                      INC.


                                 CERTIFICATE OF SERVICE

       I hereby certify that July 25, 2018, a true and correct copy of the foregoing pleading was
served via this Courts ECF/CM notification system to all parties registered to receive such notice.


                                        /s/ Kell C. Mercer
                                            Kell C. Mercer




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